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                                                                                 E-FILED
                                              Wednesday, 15 December, 2021 04:07:08 PM
                                                            Clerk, U.S. District Court, ILCD


            IN THE UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                     Plaintiff,         )
           v.                           )     Case No. 19-cr-30067-2
                                        )
WILLIE HEDDEN,                          )     The Honorable
                                        )     Sue E. Myerscough,
                     Defendant.         )     United States
                                        )     District Judge, Presiding.

          MOTION TO CONTINUE SENTENCING HEARING

     NOW COMES Defendant, WILLIE HEDDEN, by and through

his attorney, Mark Kevin Wykoff, Sr. of the Wykoff Law Office, LLC,

and for his Motion to Continue Sentencing Hearing, states to this

Honorable Court as follows, that:

     1.    Defendant’s sentencing hearing was previously scheduled

for January 10, 2022, at 11:00 a.m.

     2.    On or about October 22, 2021, his co-defendants’ jury

trial was continued to January 3, 2022.

     3.    Defendant respectfully moves to continue his sentencing

hearing for an approximate ninety (90) days in that his cause is

intertwined with that of his co-defendants.



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     4.       The Government has been consulted as to this Motion

and poses no objection to the relief requested herein.

     5.       Any and all delay shall be occasioned by the actions of

the Defendant.

     6.       Neither the rights of the Government, nor those of the

Defendant, will be jeopardized by the granting of the relief prayed

for herein.

     7.       This Motion is not brought for the purposes of delay; the

ends of justice served by granting this continuance outweigh the

best interests of the Defendant and the public in a speedy trial. 18

U.S.C. §3161(h)(7)(A).

     WHEREFORE,          Defendant, WILLIE HEDDEN, respectfully

prays that this Honorable Court, for all of the reasons set forth

herein, continue his sentencing hearing, and grant him any and all

other relief as this Honorable Court deems just and equitable.




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                Respectfully Submitted,

                WYKOFF LAW OFFICE, LLC

     By:        /s/ `tÜ~ ^xä|Ç jç~Éyy? fÜA
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           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS

                    CERTIFICATE OF SERVICE

I hereby certify that on December 15, 2021, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system,
which will send notification of such filing to the following:

Mr. Timothy A. Bass, Esq.
Assistant U.S. Attorney
U.S. Attorney’s Office
318 South Sixth Street
Springfield, IL 62701

and I hereby certify that I have mailed by United States Postal
Service the document to the following non-CM/ECF participants:

Mr. Willie Hedden
415 Camden Road
Mt. Sterling, IL 62353

                                /s/`tÜ~ ^xä|Ç jç~Éyy? fÜA
                                Mark Kevin Wykoff, Sr.
                                Reg. No. 6292093
                                Attorney for Defendant
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